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11   UNITED STATES OF AMERICA

12                           UNITED STATES bISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                WESTERN DIVISION

15   UNITED STATES OF AMERICA,             Case No. 2:21-cv-07315-FWS(MRWx)

16            Plaintiff,                   STIPULATION AND REQUEST TO ENTER
                                           CONSENT JUDGMENT OF FORFEITURE;
17                   v.                    [PROPOSED] CONSENT JUDGMENT OF
                                           FORFEITURE LODGED UNDER SEPARATE
18   $443,000.00 IN U.S. CURRENCY,         COVER

19            Defendant.

20

21   QURAN CORBIN,
22             Claimant.
23

24        IT IS HEREBY STIPULATED, AGREED AND REQUESTED, by and between
25   Plaintiff United States of America and claimant Quran Corbin
26   ("Claimant"), that the Court enter the [Proposed] Consent Judgment of
27   Forfeiture, lodged contemporaneously herewith, containing the terms
28   set forth below:
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 1         On or about September 13, 2021, Plaintiff United States of

 2    America ("the United States of America") filed a Complaint for

 3    Forfeiture alleging that the defendant $443,000.00 in U.S. Currency

 4    (the "defendant currency") is subject to forfeiture pursuant to 21

 5    U.S.C.    §   881 (a) (6) and 18 U.S.C.   §   981 (a) (1) (A)   &   (C).

 6         Claimant filed a claim to the defendant currency on or about

 7    November 10, 2021 and an answer to the complaint on or about February

 8    2, 2022.

 9         No other parties have appeared in this case and the time for

10    filing claims and answers has expired.

11         The government and Claimant have now agreed to settle this

12    action and to avoid further litigation by entering into this Consent

13    Judgment of Forfeiture.

14         The Court, having been duly advised of and having considered the

15    matter, and based upon the mutual consent of the parties hereto,

16         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

17         1.       This Court has jurisdiction over the subject matter of this

18    action and the parties to this Consent Judgment of Forfeiture.

19         2.        The Complaint for Forfeiture states a claim for relief

20    pursuant to 21 U.S.C.       §   881(a) (6) and 18 U.S.C.        §   98l(a) (1)   (A)   &   (C).

21         3.       Notice of this action has been given as required by law.

22    No appearances have been made in the litigation by any person other

23    than Claimant.       The Court deems that all other potential claimants

24    admit the allegations of the Complaint for Forfeiture to be true.

25         4.        The United States of America shall have judgment as to the

26    interests of Claimant and all other potential claimants as to

27.   $221,500.00 of the defendant currency, together with any interest

28    earned on the defendant currency by the United States of America

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 1   since seizure, which funds are hereby condemned and forfeited to the

 2   United States of America.           The United States of America shall dispose

 3   of those funds in accordance with law.

 4               5.     The remaining $221,500.00 of the defendant currency,

 5   without interest,          shall be returned to Claimant.    The funds to be

 6   returned to Claimant shall be paid to Claimant by electronic transfer

 7   directly into the client trust account of the attorney of record for

 8   Claimant in this case.           Claimant (through Claimant's attorney of

 9   record)          shall provide all information and complete all documents

10   requested by the United States of America in order for the United

11   States of America to complete the transfer including, without

12   limitation, providing Claimant's social security and taxpayer

13   identification numbers          (if any), and the identity of the bank, the

14   bank's address and the account name,           account number, account type and

15   wire transfer routing number for the client trust account to which

16   the transfer of funds is to be made.

17               6.    Claimant hereby releases the United States of America, its

18   agencies, agents, officers, employees and representatives, including,

19   without limitation, all agents, officers, employees and

20   representatives of the Federal Bureau of Investigation and their

21   respective agencies, as well as all agents, officers, employees and

22   representatives of any state or local governmental or law enforcement

23   agency involved in the investigation or prosecution of this matter,

24   from any and all claims          (including, without limitation any petitions

25   for remission, which Claimant hereby withdraws), actions or

26   liabilities arising out of or related to this action,            including,

27   without limitation, any claim for attorney fees,            costs and interest,

28   /   /   /

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 1   which may be asserted by or on behalf of Claimant, whether pursuant

 2   to statute or otherwise.

 3        7.       The Court finds that there was reasonable cause for the

 4   seizure of the defendant currency and institution of these

 5   proceedings.

 6        8.       The parties hereto shall bear their own attorney fees and

 7   costs.

 8        9.       The United States of America and Claimant consent to this

 9   judgment and waive any right to appeal.

10   Dated:    _(Y)~p,...__-~_\__ ,   2022   TRACY L. WILKISON
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                                             Attorneys for Plaintiff
17                                           UNITED STATES OF AMERICA
18
     Dated: - May 21
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                      , 2022                 THE FREEDMAN FIRM PC
19

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21                                           MICHAEL G. FREEDMAN

22                                           Attorneys for Claimant
                                             QURAN CORBIN
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